                      Case 23-17284-RAM        Doc 23     Filed 11/01/23     Page 1 of 2




       ORDERED in the Southern District of Florida on October 31, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION


       In Re:

       Jorge Luis Diaz Gonzalez
       Diana Alfonso                                                       Case No. 23-17384-RAM
                                                                           Chapter 7
                                       Debtors /

                      ORDER GRANTING CHAPTER 7 TRUSTEE’S AGREED
                     EX-PARTE MOTION FOR AN EXTENSION OF TIME FOR
                 TRUSTEE TO OBJECT TO THE DEBTORS’ CLAIMED EXEMPTIONS

                THIS MATTER came before the Court upon the Chapter 7 Trustee, Marcia T. Dunn’s
       (“Trustee”) Agreed Ex-Parte Motion for an Extension of Time for Trustee to Object to the
       Debtors’ Claimed Exemptions (the “Motion”) [DE 22]. The Court, having considered the record
       and reviewed the Motion, and acknowledging the agreement between the parties hereto to the
       relief requested therein, and for good cause shown, does hereby
            Case 23-17284-RAM               Doc 23       Filed 11/01/23        Page 2 of 2


                                                                              Case No. 23-17384-RAM




ORDER and ADJUDGE that:
1. The Trustee’s Motion is GRANTED.
2. The deadline for the Trustee to file any objections to the Debtors’ claimed exemptions is
extended through and including December 18, 2023.
3. This extension is without prejudice as to the Trustee and the Office of the United States
Trustee seeking further extensions by agreement or otherwise.

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Submitted by:

Marcia T. Dunn, Trustee
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(Marcia T. Dunn is directed to serve a conformed copy of this Order upon the Debtors, and to file a Certificate
of Service with the Court).




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